                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


IN RE:                                                §
                                                      §      Chapter 11
CLEARWATER TRANSPORTATION, LTD.,                      §
                                                      §      Case Number 19-50292-cag
                 Debtor.                              §

      MOTION FOR APPOINTMENT OF TRUSTEE, OR IN THE ALTERNATIVE,
              MOTION FOR APPOINTMENT OF AN EXAMINER

TO THE HONORABLE CRAIG A. GARGOTTA,
UNITED STATES BANKRUPTCY JUDGE:

        COME NOW Austin Conrac, LLC (“Austin ConRAC”) and the City of Austin

(collectively, the “Movants”) and file this Motion for Appointment of Trustee, or in the

Alternative, Motion for Appointment of an Examiner (the “Motion”), as follows:

                                       I.     OVERVIEW

        1.       The Debtor owes millions of dollars for funds it received from customers in trust

and did not remit to the State of Texas, the City of Austin, the Airport, and the City of Austin

Controller’s office, among others. The Debtor did not pay sales taxes, various bond funds and

tolls collected from its Rent-a-Car Customers, Customer Facility Charges, and Concession Fees

owed to the City. At the same time, Debtor also paid its owner, Monty Merrill, over $464,808 in

salary and distributions, as well as the Debtor made payments to a related real estate company,

wholly owned by Mr. Merrill, of over $142,000, apparently using the trust funds collected for the

Debtor’s own purposes. The Debtor paid its owner more than it makes on gross margin, and the

Debtor continues to lose money in the bankruptcy case. A trustee is warranted to protect the

interests of the estate, to protect the City of Austin’s interest in the trust funds collected post-

petition, to protect Austin ConRAC's interest in the leasehold, and to protect the various other



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creditors of the estate.

                                II.    BACKGROUND FACTS

        2.       The Debtor is a tenant in the Consolidated Rental Car Facility (the “CONRAC”)

at Austin Bergstrom International Airport (“ABIA”). At ABIA, the Debtor does business as a

Hertz franchisee under the Thrifty and Dollar rental car brand names. The Rental Car Facility is

directly adjacent to ABIA and is easily accessible by passengers at ABIA. The Debtor derives

the majority of its rental car income (85%) from ABIA. (Declaration of Monty Merrill in Support

of First Day Motions, ¶ 13).

        3.       The business arrangement for the CONRAC among the City of Austin, Austin

ConRAC, and the Debtor is established in the following agreements: the Rental Car Concession

Agreement for Austin-Bergstrom International Airport between the City of Austin, Texas and

Clearwater Transportation, Ltd. dba Dollar Car Rental (the “Dollar Concession Agreement”); the

Rental Car Concession Agreement for Austin-Bergstrom International Airport between the City

of Austin, Texas and Clearwater Transportation, Ltd. dba Thrifty Car Rental (the “Thrifty

Concession Agreement,” together with the Dollar Concession Agreement, the “Concession

Agreements”); the Consolidated Rental Car Facility Master Lease Agreement for Austin-

Bergstrom International Airport between the City of Austin and Austin ConRAC (the “Master

Lease Agreement”); the Consolidated Rental Car Facility Sublease Agreement for Austin-

Bergstrom International Airport among Austin ConRAC, the City of Austin and Clearwater

Transportation, Ltd. dba Dollar Car Rental (and related amendments thereto) (the “Dollar

Sublease”); and the Consolidated Rental Car Facility Sublease Agreement for Austin-Bergstrom

International Airport among Austin ConRAC, the City of Austin and Clearwater Transportation,

Ltd. dba Thrifty Car Rental (and related amendments thereto) (the “Thrifty Sublease,” together




{01506/0001/00231750.2}
with the Dollar Sublease, the “Subleases”).

        4.       The Master Lease Agreement requires that Austin ConRAC enter into the

Subleases with parties to the Concession Agreements. The Concession Agreements allow each

car rental company to conduct business at ABIA. Austin ConRAC is the master lessee to the

Debtor holding the Subleases at the ABIA rental car facility. The Debtor, the sublessee of

Austin ConRAC, owes monthly obligations for both base rent and for operations and

maintenance (“O&M”). As of the Petition Date, approximately $193,625 was owed to Austin

ConRAC for O&M under the Subleases, in addition to $36,375 in base rent. (See Schedules of

Assets and Liabilities, page 4 of 27).

        5.       Further, the City of Austin has a lease for service center space at ABIA directly

with the Debtor. The Debtor owes rent pre-petition for this leased space in the amount of

$15,881.25.

        6.       The Debtor owes the City of Austin certain fees pursuant to the Concession

Agreements as follows:

        a.       a Concession Fee equal to ten percent (10%) of its Gross Receipts (¶ 4.1 of the

                 Concession Agreements), in the amount of $190,692 as of the Petition Date; See

                 Schedules of Assets and Liabilities, Docket No. 37, page 9, and

        b.       a Customer Facility Charge (“CFC”) in the amount of $5.95 per day per rental

                 customer (¶ 4.2 of the Concession Agreements), in the approximate amount of

                 $295,645 as of the Petition Date. See Schedules of Assets and Liabilities, Docket

                 No. 37, pages 8 and 9.

        7.       The CFCs are used to pay certain municipal bonds, and the Debtor, by entering

into the Concession Agreements, expressly agreed that the CFCs were to be held in trust and




{01506/0001/00231750.2}
paid to the Bond Trustee (as assignee of the City of Austin, and as defined in the Concession

Agreements) on or before the 20th day of each month for the preceding calendar month of

operations. These fees are separately identified on each rental car customer’s receipt. See ¶¶

4.2.1 and 4.2.2 of the Concession Agreements. The Debtor expressly collected the fees on behalf

of the City of Austin, but misappropriated those fees and did not remit those sums to the Trustee.

        8.       The Debtor has misappropriated the CFCs which are the property of the Bond

Trustee. This arguably is a first degree felony violation of the Texas Penal Code §32.45. This

unquestionably is a violation of the Debtor’s duties.

        9.       The Debtor owes approximately $1.5 million to the City of Austin Town Lake

Bond Fund. The City of Austin Town Lake Bond Fund is a charge imposed by the City of

Austin on all car rentals. It is generally five percent (5%) of gross sales rentals.

        10.      The Debtor owes the Travis County Tax Assessor $112,050 in personal property

taxes as of the Petition Date and an additional $168,156 in State of Texas Rental Vehicle Taxes

to the Texas Comptroller of Public Accounts. See Schedules of Assets and Liabilities, Docket

No. 37, pages 13 and 16.

        11.      The Debtor also has an obligation to hold sales taxes in trust. The Debtor has

failed to remit its sales taxes, held on behalf of the State of Texas, to the Texas Comptroller.

        12.      Additionally, the Debtor has failed to remit toll road fees collected from

customers in the amount of $117,083. See Schedules of Assets and Liabilities, Docket No. 37,

page 17.

        13.      While in the course of spending funds that were held on behalf of others, the

Debtor paid its principal, Monty Merrill, an exorbitant salary. The Debtor paid its related

company, owned by Mr. Merrill, the amount of $142,000 and has a “note receivable” according




{01506/0001/00231750.2}
to the Debtor in the amount of $638,092 (essentially only a “book entry”), that is owed to this

same related entity.

        14.      Even though it is not paying the majority of trust funds in its possession, the

Debtor still could not operate at a profit. The Debtor owes its secured creditors, its franchisor,

and its unsecured creditors significant sums, and the Debtor is well past due on the vast majority

of all of its business obligations.

        15.      In sum, the Debtor has misappropriated trust funds, paid funds to insiders, and

still operated at a significant loss. Nothing about the bankruptcy filing has assuaged its operating

at a deficit.

                     III.   THE COURT SHOULD APPOINT A TRUSTEE

        16.      The Debtor is a poster child for poor management. The Debtor has offered no

plan to promptly pay the amounts it has misappropriated, nor a plan to cure its other debts.

There is a significant chance that the Debtor is administratively insolvent, given its trust fund

obligations. See Concession Agreements ¶ 4.2.1. Every day that the Debtor operates with

current management creates a significant risk of continued harm to the estate. Nothing that

current management does is unique; there is nothing that cannot be handled by an appointed

trustee with experience in the car rental business. The Court should appoint a trustee pursuant to

11 U.S.C. § 1104(a) to oversee Debtor’s operations and to ensure the integrity of Debtor’s

operations.

        17.      Section 1104(a)(1) provides for a mandatory appointment of a trustee when the

movant has proven cause, which the statute defines to include fraud, dishonesty, incompetence,

or gross mismanagement of the affairs of the debtor either before or after the commencement of

the case. 11 U.S.C. § 1104(a)(1); In re Evans, 48 B.R. 46, 47 (Bankr. W.D. Tex., San Antonio




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Division, 1985) (finding cause for the appointment of a trustee for the failure of filing federal tax

returns); see also Matter of Hester, 899 F.2d 361, 363 (5th Cir. 1990) (“The repeated violations

of the requirements and protections of the Bankruptcy Code clearly constitute cause for the

appointment of a Trustee pursuant to 11 U.S.C. § 1104.”). The inquiry is fact specific, and the

appointment of a trustee is made on a case-by-case basis after considering the totality of the

circumstances. In re Sharon Steel Corp., 871 F.2d 1217, 1226 (3d Cir. 1989); In re Sundale,

Ltd., 400 B.R. 890, 900 (Bankr. S.D. Fla. 2009); In re G-1 Holdings, Inc., 295 B.R. 502, 507

(D.N.J. 2003); In re Bellevue Place Assoc., 171 B.R. 615, 622 (Bank.N.D.Ill.1994).

        18.      Further, Section 1104(a)(2) envisions a flexible standard, giving the Bankruptcy

Court discretion to appoint a trustee, and when to do so, that would serve the parties’ and the

estate’s interest. 11 U.S.C. § 1104(a)(2); In re FPMC Austin Realty Partners, LP, 573 B.R. 679,

694 n. 172 (Bankr. W.D. Tex. 2017) (citing with approval the proposition that the “standard for

appointing a trustee is flexible.”) (citing In re Eurospark Indus., Inc., 424 B.R. 621, 627 (Bankr.

E.D.N.Y. 2010)); see In re Evans, 48 B.R. 46, 47 (Bankr. W.D. Tex., San Antonio Division,

1985) (in addition to finding cause, finding that the appointment of a trustee was in the best

interest of the estate under the court’s equitable powers provided by Section 1104(a)(2) for the

failure to file federal tax returns); see also In re Marvel Entertainment, 140 F. 3d 463, 474 (3d

Cir. 1998). That decision whether to appoint a trustee under Section 1104(a)(2) is committed to

the sound discretion of the Bankruptcy Judge. In re Adelphia Communications Corp., 342 B.R.

122, 126 (S.D.N.Y. 2006); see also Matter of Cajun Elec. Power Co-op., Inc., 69 F.3d 746, 749

(5th Cir. 1995) (opinion withdrawn in relevant part on reh'g, 74 F.3d 599 (5th Cir. 1996) (“The

district court's appointment of a trustee is reviewable only for abuse of discretion.”).

        19.      Pursuant to either standard, the Movants assert that the facts set forth herein and




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that will be established at the hearing on this Motion will provide a sufficient basis to appoint a

trustee.

     IV.         ALTERNATIVELY, THE COURT SHOULD APPOINT AN EXAMINER

           20.    This case presents serious issues. The misappropriation of trust funds is highly

improper, and the creditors and other estate constituents can have no confidence in the

statements of the Debtor concerning its finances or business operations. 11 U.S.C. §1104(c)

provides:

           the court shall order the appointment of an examiner to conduct an investigation
           of the debtor as is appropriate, including an investigation of any allegations of
           fraud, dishonesty, incompetence, misconduct, mismanagement or irregularity in
           the management of the affairs of the debtor… if
                   (1)     Such appointment is in the interests of creditors, …, and
                   other interests of the estate; or
                   (2)     The debtor’s fixed, unliquidated, unsecured debts, other
                   than debts for goods, services, or taxes, or owing to an insider,
                   exceed $5,000,000.

(emphasis added).

           21.    Debtor’s schedules indicate that the unsecured debts amount to some

$3,416,721.41. However, the City of Austin and Austin ConRAC suggest that these facts clearly

present a case where the appointment would be in the best interests of creditors. As indicated

above, the misappropriation of trust funds and the subsequent payments to insiders present a very

serious situation. Admittedly, the estate possesses valuable assets which need to be properly

managed to prevent further harm to creditors. If the court does not appoint a trustee, the court

should alternatively consider the appointment of an examiner and charge the examiner to

conduct a full investigation of the Debtor’s business operations and report back to the Court in

thirty (30) days.

                               V.     CONCLUSION AND PRAYER

           WHEREFORE, premises considered, Austin ConRAC and the City of Austin pray that


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the Court enter an order to (A) appoint a Chapter 11 trustee; or (B) in the alternative, appoint an

examiner; and (C) grant Austin ConRAC and the City of Austin such other and further relief to

which they may be entitled at law or in equity.

Dated: March 15, 2019

                                      Respectfully submitted,

                                      By: /s/ Sabrina L. Streusand
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                                                            and


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                                         ATTORNEYS FOR CITY OF AUSTIN




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing instrument
has been served on this 15th day of March, 2019 upon all parties requesting service via ECF
notification, and/or via email or first class mail to the parties on the attached service list.


                                            /s/ Sabrina L. Streusand
                                            Sabrina L. Streusand




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